
66 N.Y.2d 927 (1985)
Sayward Mazur, Appellant,
v.
Max E. Greenberg, Cantor &amp; Reiss, Respondent.
Court of Appeals of the State of New York.
Argued November 12, 1985.
Decided December 17, 1985.
Sayward Mazur, pro se, Gerald I. Carp and Gary L. Rubin for Sayward Mazur, appellant.
Julius L. Schapira, Saul Weprin and Jerome Reiss for respondent.
Concur: Chief Judge WACHTLER and Judges JASEN, MEYER, SIMONS, KAYE, ALEXANDER and TITONE.
Order affirmed, with costs. The weight of the evidence more nearly comports with the findings by the Appellate Division.
